                 United States Court of Appeals
                               FIFTH CIRCUIT
                            OFFICE OF THE CLERK
LYLE W. CAYCE                                               TEL. 504-310-7700
CLERK                                                    600 S. MAESTRI PLACE,
                                                                 Suite 115
                                                        NEW ORLEANS, LA 70130

                            April 25, 2023


Ms. Maria Amelia Calaf
Wittliff Cutter, P.L.L.C.
1209 Nueces Street
Austin, TX 78701

      No. 23-50224   Little v. Llano County
                     USDC No. 1:22-CV-424


Dear Counsel:
This letter is to advise that the Court is requesting a response
from the Appellees to the motion for stay pending appeal, to be
filed by 11:59 p.m. on Friday, April 28, 2023.
Any reply filed by the Appellants, should be filed by 11:59 p.m.
on Monday, May 1, 2023.

                                 Sincerely,
                                 LYLE W. CAYCE, Clerk



                                 By: _________________________
                                 Melissa V. Mattingly, Deputy Clerk
                                 504-310-7719
cc:
      Mr. Jonathan F. Mitchell
